Case 2:13-cr-00008-WFN   ECF No. 3845   filed 07/01/15   PageID.30249 Page 1 of 6
Case 2:13-cr-00008-WFN   ECF No. 3845   filed 07/01/15   PageID.30250 Page 2 of 6
Case 2:13-cr-00008-WFN   ECF No. 3845   filed 07/01/15   PageID.30251 Page 3 of 6
Case 2:13-cr-00008-WFN   ECF No. 3845   filed 07/01/15   PageID.30252 Page 4 of 6
Case 2:13-cr-00008-WFN   ECF No. 3845   filed 07/01/15   PageID.30253 Page 5 of 6
Case 2:13-cr-00008-WFN   ECF No. 3845   filed 07/01/15   PageID.30254 Page 6 of 6
